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 7     POWER ANALYTICS CORPORATION
 8
                       IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
10                               WESTERN DIVISION
11
       POWER ANALYTICS                            Case No. 8:16-CV-1955-JAK-FFM
12     CORPORATION,
                                                  PLAINTIFF POWER
13
                   Plaintiff,                     ANALYTICS’ OBJECTIONS TO
14     v.                                         OPERATION TECHNOLOGY,
                                                  INC. AND SCHNEIDER
15
       OPERATION TECHNOLOGY, INC.                 ELECTRIC USA, INC.
16     d/b/a ETAP; OSISOFT, LLC; and              APPLICATIONS TO THE
       SCHNEIDER ELECTRIC USA, INC.,              CLERK TO TAX COSTS
17

18                 Defendants.
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                                                                    Plaintiff’s Objections to Defendants
                                                                     Schneider and ETAP Applications
                                                                              to the Clerk to Tax Costs
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 1
             Pursuant to L.R. 54-2.2, Plaintiff Power Analytics Corporation (“Power
 2
       Analytics”) hereby objects to Defendant Operation Technology, Inc. d/b/a ETAP’s
 3
       (“ETAP”) Application to the Clerk to Tax Costs against Power Analytic s Corporation
 4
       (D.I. 403, “ETAP Application to Tax Costs”) and Schneider Electric USA, Inc.’s
 5
       (“Schneider”) Application to the Clerk to Tax Costs against Plaintiff Power Analytics
 6
       (D.I. 404, “Schneider Application to Tax Costs”) which were filed on February 14, 2018
 7
       (collectively, “Applications to Tax Costs”).
 8
       I.    INTRODUCTION
 9
             ETAP and Schneider’ s Applications to Tax Costs improperly seek costs that are
10
       not recoverable under the Federal Rules and applicable Local Rules. ETAP’s
11
       Application to Tax Costs improperly seeks costs that may not be recovered because they
12
       were never actually incurred by ETAP, are not described with sufficient specificity, and
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       are simply improper like costs for couriers and messengers. The vast majority of the
14
       costs listed in ETAP’s application should be rejected. Schneider’s Application to Tax
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       Costs improperly seeks costs related to the entirety of the litigation even though the
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       Court’s partial judgment pursuant to Rule 54(b) only addressed a fraction of Plaintiff’s
17
       claims. Moreover, Schneider’s purported costs are not sufficiently described to permit
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       recovery. Schneider’s Application to Tax Costs should be rejected in its entirety.
19
       II.   FACTUAL BACKGROUND
20
             The Court entered partial judgment pursuant to Fed. R. Civ. P. 54(b) in favor of
21
       Defendants ETAP and Schneider on Plaintiff’s patent infringement claims, counts I-IV
22
       of the Second Amended Complaint. (D.I. 369). The parties’ stipulation to extend the
23
       deadline for Defendants to file their Applications to Tax costs in relation to the Court’s
24
       partial judgment was granted on February 12, 2018. (D.I. 400). Defendants ETAP and
25
       Schneider filed the Applications to Tax Costs on February 14, 2018. Plaintiff hereby
26
       submits its objections thereto.
27

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                                                                          Plaintiff’s Objections to Defendants
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       III.   LEGAL STANDARD
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              28 U.S.C. § 1920 “define[s] the full extent of a federal court’s power to shift
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       litigation costs absent express statutory authority.” Grove v. Wells Fargo Fin.
 4
       California, Inc., 606 F.3d 577, 579 (9th Cir. 2010) (quoting W. Va. Univ. Hosps., Inc. v.
 5
       Casey, 499 U.S. 83, 86 (1991)). L.R. 54-3 further defines the items that are taxable as
 6
       costs in the Central District. Accordingly, the “Court is not empowered to exceed the
 7
       limitations set forth in § 1920, instead it has ‘solely a power to decline to tax as costs,
 8
       the items enumerated in § 1920.’” United Healthcare Servs., Inc. v. Diane Renton, C 12-
 9
       6154 JSW, 2013 U.S. Dist. LEXIS 136916, at *3 (N.D. Cal. Sept. 24, 2013) (quoting
10
       Crawford Fitting Co. v. J.T. Gibbons, Inc., 482 U.S. 437, 442 (1987)).
11
              In order to recover its costs, a prevailing party must serve and file a bill of costs
12
       specifying all costs which it seeks to recover pursuant to L.R. 54-2.1 which “must prove
13
       that each item claimed ‘is correct and has been necessarily incurred in the case and that
14
       the services for which fees have been charged were actually and necessarily
15
       performed.’” Id. (quoting 28 U.S.C. §1924). “The burden of substantiating taxable costs
16
       is on the requesting party.” Zopatti v. Rancho Dorado Homeowners Ass’n, No.
17
       10CV1091 DMS (WVG), 2012 U.S. Dist. LEXIS 3464, at *12 (S.D. Cal. Jan. 10, 2012).
18
       The only costs that may be awarded are those enumerated in 28 U.S.C. § 1920 and L.R.
19
       54-2.1.
20
              Although Fed. R. Civ. P. 54(d) does express a presumption in favor of awarding
21
       costs to the prevailing party, the prevailing party must “itemize its costs with sufficient
22
       detail to establish that each expense is taxable under section 1920.” Ancora Techs., Inc.
23
       v. Apple, Inc., 2013 U.S. Dist. LEXIS 121225, at *5 (N.D. Cal. Aug. 26, 2013); see also
24
       Synopsys, Inc. v. Ricoh Co. (In re Ricoh Co., Ltd. Patent Litig.), 661 F.3d 1361, 1368
25
       (Fed. Cir. 2011) (applying Ninth Circuit law to deny costs to a prevailing party that “did
26
       not meet its burden” to itemize costs with specificity); Oracle America, Inc. v. Google,
27

28                                                -2-
                                                                             Plaintiff’s Objections to Defendants
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 1
       Inc., 2012 U.S. Dist. LEXIS 125237, at *11-12 (N.D. Cal. Sept. 4, 2012). It is only
 2
       “[o]nce a prevailing party establishes that the expense is taxable under section 1920
 3
       [that] the presumption applies.” Plantronics, Inc. v. ALIPH, Inc., No. C 09-01714
 4
       WHA(LB), 2012 US Dist. LEXIS 152297, at *9 (N.D. Cal. Oct. 23, 2012).
 5

 6
       IV.   OBJECTIONS TO ETAP’S BILL OF COSTS

 7           A.    Objections to Costs for Certification, Exemplification and
                   Reproduction of Documents
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 9           ETAP seeks $18,053.63 in costs for certification, exemplification, and
10     reproduction of documents. However, only $530.20 (courtesy copy fees) of the
11     requested costs may be taxed. Critically, ETAP waived its ability to recover any costs
12     associated with ediscovery because ETAP’s counsel never billed it for any such costs.
13     Instead counsel, absorbed these costs in furtherance of counsel’s representation of
14     ETAP. ETAP’s counsel may not recover its costs under the guise of 28 U.S.C. § 1920.
15           ETAP seeks $17,144.44 in costs for “document production.” None of these
16     “document production” costs are taxable. Critically, ETAP was never billed for any of
17     these costs by its outside counsel. The Declaration of Salumeh R. Loesch in Support of
18     ETAP’s Application to Tax Costs (“Loesch Declaration”) states that, “[i]n an effort to
19     limit the costs incurred by ETAP, Klarquist Sparkman internalized the document
20     production costs and therefore did not generate a formal invoice to ETAP.” (D.I. 403-1,
21     ¶ 11) (emphasis added). No invoices exist regarding ETAP’s purported expenses related
22     to “document production” services, and even if they did, the expenses would not be
23     recoverable. See In re Ricoh Co. Patent Litig., 661 F.3d 1361, 1368 (“The phrase
24     ‘document production’ on an invoice does not automatically signify that the copies were
25     produced to opposing counsel. ‘Document production’ and other similarly generic
26

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                                                                         Plaintiff’s Objections to Defendants
                                                                          Schneider and ETAP Applications
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       statements on the invoices are unhelpful in determining whether those costs are
 2
       taxable.”).1
 3
             Although ETAP attempted to separate costs related to Plaintiff’s patent counts
 4
       which were decided in the Court’s partial judgment, and Plaintiff’s non-patent counts,
 5
       ETAP’s methodology does not account for the discovery that is relevant to Plaintiff’s
 6
       non-patent and patent counts. (See generally 403-1, ¶ 10).2 Accordingly, ETAP’s
 7
       Application to Tax Costs is deficient because it does not prove that the listed costs are
 8
       “correct and [were] necessarily incurred in the case and that the services for which fees
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       have been charged were actually and necessarily performed” with respect to the counts
10
       subject to the Court’s partial judgment. See United Healthcare Servs., Inc., C 12-6154
11
       JSW, 2013 U.S. Dist. LEXIS 136916, at *3.
12
             ETAP’s arbitrary requested costs of $0.01 per page for production and $0.03 per
13
       page for OCR are not supported by any invoices or bills, were never actually charged to
14
       the client, and are wholly arbitrary numbers generated by counsel for ETAP who would
15
       recover these costs. ETAP’s counsel is not a “prevailing party” under section 1920 and
16
       may not recover its own costs incurred in representing its client. Willis Corroon Corp.
17
       v. United Capitol Ins. Co., No. C-97-2208 MHP, 1998 U.S. Dist. LEXIS 5394, at *16
18
       (N.D. Cal. 1998) (“Section 1920 makes no provision for the recovery of traveling,
19
       parking or miscellaneous expenses incurred by the prevailing party’s attorneys.”)
20
       (emphasis added) (quoting Walters v. President and Fellows of Harvard College, 692
21
       F. Supp. 1440, 1442 (D. Mass. 1988)).
22

23

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       1
         Exhibit G to the Loesch Declaration is a spreadsheet generated by counsel to apply
25
       counsel’s arbitrary $0.01 per page production charge and $0.03 per page OCR charge.
26     It is not an actual invoice or bill to ETAP.
       2
         Plaintiff’s Third Amended Complaint includes eight counts against ETAP and six
27
       counts against Schneider.
28                                              -4-
                                                                          Plaintiff’s Objections to Defendants
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 1
             Since ETAP cannot prove that its purported $17,144.44 in costs for “document
 2
       production” “is correct and has been necessarily incurred in the case and that the services
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       for which fees have been charged were actually and necessarily performed,” its
 4
       application to tax these costs must be rejected. See United Healthcare Servs., Inc., C 12-
 5
       6154 JSW, 2013 U.S. Dist. LEXIS 136916, at *3; see also In re Ricoh Co., Ltd. Patent
 6
       Litig., 661 F.3d 1361, 1368; Ancora Techs., Inc. v. Apple, Inc., 2013 U.S. Dist. LEXIS
 7
       121225, at *5; Oracle America, Inc. v. Google, Inc., 2012 U.S. Dist. LEXIS 125237, at
 8
       *11-12.
 9
             ETAP also seeks $378.99 in Federal Express costs related to “sending courtesy
10
       copies to the Court.” (D.I. 403-1, ¶ 8). These costs are not taxable and may not be
11
       recovered by ETAP. Kwan Software Eng'g, Inc. v. Foray Technologies, LLC, C 12-
12
       03762 SI, 2014 U.S. Dist. LEXIS 63933, at *7 (N.D. Cal. May 8, 2014) (“delivery fees
13
       are not taxable as costs under section 1920.”) (emphasis added); see also First Interstate
14
       Bank of Or. v. United States, No. 94–cv–917–HA, 1995 U.S. Dist. LEXIS 8554, at *4
15
       (D. Or. Jun. 2, 1995). (“[F]ees related to messenger and courier services are routinely
16
       excluded as taxable costs.”) (emphasis added).
17
             Accordingly, if the clerk were to award any costs to ETAP pursuant to the Court’s
18
       partial judgement pursuant to Fed. R. Civ. P. 54(b), any such award should be reduced
19
       at least by $17,523.43 to account for the deficiencies in ETAP’s bill of costs and any
20
       other deficiencies that the clerk may note.
21

22     V.    OBJECTIONS TO SCHNEIDER’S BILL OF COSTS

23           A.     Objections to Costs for Certification, Exemplification and
                    Reproduction of Documents
24

25           Schneider seeks $130,642.50 in costs for certification, exemplification, and
26     reproduction of documents, more than six times the amount of cost sought by ETAP.
27     Based on the documentation submitted, none of these costs may be taxed.
28                                               -5-
                                                                            Plaintiff’s Objections to Defendants
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 1
             Critically, the Court entered partial judgment pursuant to Fed. R. Civ. P. 54(b) on
 2
       counts I-IV of Power Analytics Second Amended Complaint related to Plaintiff’s claims
 3
       for patent infringement against Defendants ETAP and Schneider. Despite the nature of
 4
       the Court’s partial judgement, Schneider appears to seek all of its ediscovery costs
 5
       incurred in this litigation which is still ongoing. Schneider’s application to tax costs
 6
       must be rejected on this basis alone because Schneider is not a prevailing party.
 7
             Although prevailing parties may seek costs for the reproduction of documents,
 8
       including certain ediscovery costs, the expenses must be sufficiently described and
 9
       related to the actual production of documents in the case to be taxable. “[T]he Ninth
10
       Circuit and the courts of this district have long held that costs compensable under section
11
       1920 are only permitted for preparation and duplication of documents, not the efforts
12
       incurred in assembling, collecting, or processing those documents.” Kwan Software
13
       Eng’g, Inc. v. Foray Technologies, LLC, C 12-03762 SI, 2014 U.S. Dist. LEXIS 63933,
14
       at *12-13 (quoting Ancora Techs., Inc., 2013 U.S. Dist. LEXIS 121225, at *5); see also
15
       CBT Flint Partners, LLC v. Return Path, Inc., 737 F.3d 1320, 1330-1331 (Fed. Cir.
16
       2013) (“extraction of proprietary data” and “costs incurred in preparing to copy” are not
17
       recoverable).
18
             Critically, the invoices that Schneider submitted fail to “itemize its costs with
19
       sufficient detail to establish that each expense is taxable under section 1920.” See
20
       Ancora, 2013 U.S. Dist. LEXIS 121225, *5, (citing Plantronics, Inc. v. ALIPH, Inc., No.
21
       C 09-01714 WHA(LB), 2012 US Dist. LEXIS 152297 at *5.
22
             Without providing any detail, Schneider seeks purported ediscovery costs it
23
       incurred in connection with the following tasks: “(1) imaging and endorsement; (2)
24
       minimum production fees; and (3) production technical time.” (D.I. 404, 3). Schneider
25
       further describes these tasks as follows: “(1) Imaging and Endorsement - This pertains
26
       to imaging the documents from native and applying the Bates label and any
27

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                                                                            Plaintiff’s Objections to Defendants
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 1
       confidentiality stamping to the documents. (2) Minimum Production Fees - This pertains
 2
       to the minimum size a production will be billed for under imaging and endorsement –
 3
       this is when the native size of a production is under a certain file size. (3) Production
 4
       Technical Time - This pertains to tasks related to productions, such as optical character
 5
       recognition.” (Id.). Schneider’s description of its purported ediscovery tasks are
 6
       insufficient under Ninth Circuit law.
 7
             In Resnick v. Netflix, Inc. the Ninth Circuit held, “[t]he proper application of a
 8
       narrowly construed § 1920(4) requires that the tasks and services for which an award of
 9
       costs is being considered must be described and established with sufficient specificity,
10
       particularity, and clarity as to permit a determination that costs are awarded for making
11
       copies.” Resnick v. Netflix, Inc. (In re Online DVD-Rental Antitrust Litig.), 779 F.3d
12
       914, 928 (9th Cir. 2015). Schneider’s broad description of the purported ediscovery tasks
13
       for which it seeks costs is deficient.
14
             The invoices submitted with Schneider’s Application to Tax Costs do not describe
15
       the format in which documents were received, the amount of documents that were
16
       converted to tiff images as opposed to produced in native format, the number of pages
17
       or documents that were produced, the methodology that was used for any of these tasks,
18
       and how all of these processes corresponded to the applicable Court orders or
19
       agreements by the parties. Without this information, Schneider cannot prove that the
20
       claimed costs were “necessarily incurred in the case and that the services for which fees
21
       have been charged were actually and necessarily performed.” See United Healthcare
22
       Servs., Inc., C 12-6154 JSW, 2013 U.S. Dist. LEXIS 136916, at *3; see also In re Online
23
       DVD-Rental Antitrust Litig., 779 F.3d 914, 928; see also In re Ricoh Co., Ltd. Patent
24
       Litig., 661 F.3d 1361, 1368; Ancora, 2013 U.S. Dist. LEXIS 121225, at *5 (burden is
25
       on movant to “itemize its costs with sufficient detail to establish that each expense is
26

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                                                                          Plaintiff’s Objections to Defendants
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 1
       taxable under section 1920”); Oracle America, 2012 U.S. Dist. LEXIS 125237, at *11-
 2
       12. Accordingly, Schneider’s costs may not be taxed under Ninth Circuit law.
 3
             Schneider’s Application to Tax Costs seeks costs for the entirety of the litigation
 4
       although the Court only entered a partial judgment pursuant to Rule 54(b). Schneider’s
 5
       application does not describe whether the general ediscovery tasks listed therein were
 6
       for document productions that were necessary in the case and were performed pursuant
 7
       to the procedures agreed upon by the parties or mandated by the Court. Accordingly,
 8
       Schneider’s Application to Tax Costs should be denied in its entirety.
 9
       VI.   CONCLUSION
10
             ETAP and Schneider’s Applications to Tax Costs should be rejected. The vast
11
       majority of ETAP’s purported costs are illusory ediscovery costs because they were
12
       never actually billed to ETAP, or any other client or entity and broadly seek unspecified
13
       costs related to “document production.” There is no basis for ETAP to be awarded these
14
       illusory costs under 28 U.S.C. § 1920.
15
             Schneider’s Application to Tax Costs must also be rejected. Schneider’s
16
       application seeks unspecified ediscovery costs related to the entire litigation although
17
       the Court’s partial judgment pursuant to Rule 54(b) only concerned a fraction of
18
       Plaintiff’s claims. Further, the invoices upon which Schneider’s Application to Tax
19
       Costs is based contain no detail regarding the ediscovery work that was actually
20
       performed. Schneider’s broad request for costs must be denied.
21

22      DATED: February 21, 2018
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